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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA                       )
                                                )
                         v.                     )
                                                )          No. 19 CR 567
 ROBERT SYLVESTER KELLY, et al.                 )
                                                )          Judge Harry D. Leinenweber




                               WITHDRAWAL OF COUNSEL

       Please take notice that Assistant United States Attorney Abigail Peluso is no longer

assigned to this case.

                                                    Respectfully submitted,

                                                    JOHN R. LAUSCH, JR.
                                                    United States Attorney


                                          By:       /s/Abigail Peluso
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